                  Case 7:23-mj-00875 Document 1 Filed on 05/08/23 in TXSD Page 1 of 2
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                Southern District of Texas

                  United States of America                      )
                                                                )
                                                                )        Case No. 7:23-mj-875
                                v.
                                                                )
                  Kayla Jocelyn GARCIA                          )                                 United States Courts
                     YOB: 2001 / COC: US                        )
                                                                                                Southern District of Texas
                                                                )
                                                                                                         FILED
                           Defendant(s)
                                                                                                       May 06, 2023
                                             CRIMINAL COMPLAINT                              Nathan Ochsner, Clerk of Court

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 May 5, 2023                 in the county of                Starr            in the
   Southern            District of         Texas            , the defendant(s) violated:
            Code Section                                                   Offense Description
18 USC §111(a)(1)                          Forcibly assault, resist, oppose, impede, intimidate and interfere with
                                           Customs and Border Protection Officer D.S., a federal officer, while he
                                           was engaged in the performance of his official duties




         This criminal complaint is based on these facts:

 See Attachment A




          ; Continued on the attached sheet.

 $SSURYHGE\$86$ L. Fry                                                                  /s/ Ricardo Deanda
                                                                                           Complainant’s signature

                                                                             Ricardo Deanda, HSI Special Agent
                                                                                            Printed name and title
   Sworn to telephonically and signed electronically
   SHU)HG5&U


Date:       05/06/23 at 3:56 p.m.
                                                                                              Judge’s signature

City and state:       McAllen, Texas                                    Juan F. Alanis, United States Magistrate Judge
                                                                                            Printed name and title
           Case 7:23-mj-00875 Document 1 Filed on 05/08/23 in TXSD Page 2 of 2




                                             $77$&+0(17$

On May 5, 2023, Customs and Border Protection Officers (CBPOs) assigned to the Roma, Texas Port of
Entry (POE) were conducting their official duties at primary inspection, when Officers encountered Kayla
Jocelyn Garcia ("GARCIA") who was attempting to enter the Untied States as the passenger in a vehicle.
During the secondary inspection, the passengers were removed from the vehicle so officers could conduct a
search. Officers later advised GARCIA that she needed to be escorted inside and when the officers reached
to grab GARCIA's arm to escort her inside, GARCIA immediately started resisting by pulling her arm
away and using her bodyweight to get away from the officers. CBPO D.S. then began to assist by grabbing
GARCIA's right arm to move it behind her back to be handcuffed. Once GARCIA's hand was behind her
back, she grabbed Officer D.S.'s left thumb and started torquing it backwards, away from the palm side of
his hand and away from the other fingers. CBPO D.S. gave GARCIA a verbal command to stop, which
GARCIA ignored.
GARCIA continued to resist using her body to push CBP officers away. GARCIA then donkey kicked
CBPO D.S. in the leg and called him a racial slur. GARCIA then continued to resist and struck multiple
CBPOs, including Officer D.S., in the legs and arms while they attempted to grab her legs to prevent any
further strikes.
HSI Special Agent responded to the Roma, Texas POE and interviewed GARCIA. During the interview
GARCIA admitted that she was resisting CBPOs who were attempting to arrest her and that she had kicked
one of the officers.
